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     7                     UNITED STATES DISTRICT COURT
     8                    CENTRAL DISTRICT OF CALIFORNIA

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      INLAND EMPIRE WATERKEEPER, a              Case No.: 8:18-cv-00333 DOC (DFM)
   10 project of Orange County Coastkeeper,
   11 and ORANGE COUNTY                         Hon. David O. Carter
      COASTKEEPER, a California non-profit
   12 corporation,                              ORDER RE: REQUEST TO
   13                                           ADVANCE HEARING DATE
                   Plaintiffs,                  [325]
   14
   15        v.
                                                Hearing date: April 10, 2023
   16 CORONA CLAY CO., a California             Time: 8:30 AM
                                                Location: Courtroom 10A, 10th Floor
   17 corporation,                              Action Filed: April 20, 2018
   18              Defendant.
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     1         The Court, having considered the parties’ Joint Stipulation to advance the
     2 hearing for the remedies and injunctive relief phase of this matter, currently set for
     3 April 10, 2023, hereby ADVANCES the hearing to March 22, 2023, at 8:30 a.m.
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         Dated: February 16, 2023              _____________________________
     6
                                               Honorable David O. Carter
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